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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -----------------------------------
 JESS CHARLES, KRYSTYNA CHUDA, ROSLYN
 HUEBENER, MILL JONAKAIT, CARMEN
 KOLODICH, RICHARD KOLODICH, MARY
 MCGUCKIN, DEBORAH PERRIN, JOHN DAVID
 TINEO, KRYSTYNA ZABLOCKI, and        Civil Action No.: 23-cv-03108-EK-CLP
 TADEUSZE ZABLOCKI,

                        Plaintiffs,
               v.

 THE CITY OF NEW YORK, NORTH BROOKLYN
 PARKS ALLIANCE, NORTH BROOKLYN OPEN
 STREETS COMMUNITY COALITION, NORTH
 BROOKLYN MUTUAL AID, 34TH AVENUE
 OPEN STREETS COALITION, NOEL
 HILDALGO, KEVIN LACHERRA, JEFFREY
 HODSON, NUALA O’DOHERTY-NARANJO,
 AND JIM BURKE,

                      Defendants.
 -------------------------------------


           PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO
              VOLUNTEER DEFENDANTS’ MOTION TO DISMISS




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        Plaintiffs, through their undersigned counsel, submit this memorandum of law in

 opposition to the motion to dismiss (the “Motion”) the amended complaint (the “Complaint,”

 ECF Dkt 68, cited below as “Compl.”) pursuant to Fed. R. Civ. P. Rules 12(b)(1) and 12(b)(6)

 and the related memorandum of law (“Def. Mem.”) filed by defendants North Brooklyn Parks

 Alliance, North Brooklyn Open Streets Community Coalition, North Brooklyn Mutual Aid, 34th

 Avenue Open Streets Coalition, Noel Hidalgo, Kevin Lacherra, Nuala O’Doherty-Naranjo,

 Jeffrey Hodsdon and Jim Burke (collectively, the “Volunteer Defendants”).

                                       Preliminary Statement

        This case is about a group of disabled Plaintiffs (Compl. ¶¶ 22 – 32) that are being denied

 equal access to the City’s public services through the City’s implementation of the Open Streets

 program. As set forth in the Complaint, the City implemented its misnamed Open Streets

 program (the “Program”) in order to close certain streets, sidewalks and curb-cuts (collectively,

 the “Open Streets”) in order to reserve their use for pedestrians and cyclists. Id. at ¶¶ 3-5, While

 the Program generally precludes vehicular traffic by blocking off the Open Streets using metal

 police stanchions, concrete blocks and planters (id. at ¶ 3), the City still allows local vehicular

 through-traffic to drive and park on the Open Streets. Id. at ¶ 40 (“local traffic is exempt from

 the Program’s restriction on through-traffic.”) The problem is that while able-bodied pedestrians

 and local drivers are able to move through or around these obstacles to access the Open Streets

 (id. at ¶ 43), the disabled Plaintiffs are unable to do the same. Id. at ¶¶ 47 - 49 (Jess Charles), 50

 - 53 (Krystyna Chuda), 54 – 56 (Roslyn Huber), 57 – 59 (Mill Jonakait), 60 – 65 (Carmen

 Kolodich), 66 – 68 (Richad Kolodich), 69 – 72 (Mary McGuckin), 73 – 76 (Deborah Perrin), 77

 – 80 (John David Tineo), 81 – 83 (Krystyna Zablocki), 84 – 86 (Tadeusz Zablocki).

        The gravamen of the Complaint is that the Program, as implemented, denies the disabled

 access to Open Streets that the able-bodied are able to use by sidestepping or bypassing the
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 City’s barriers.1 This turns Plaintiffs into shut-ins who cannot engage in their daily life activities

 with dignity. Id. at ¶ 1. This problem is worsened by the fact that the City and its volunteer

 “partners” who manage the Program are unavailable or unwilling to accommodate the disabled

 by moving the barricades out of the way to make the Open Streets accessible. Id. at ¶¶ 110 -

 120. The City’s plan to expand the program to eventually include more than 100 miles of public

 roadways and 20 miles of public bus lanes will further restrict Plaintiffs’ freedom to live

 independently. Id. at ¶ 1.

          Contrary to the Volunteer Defendants’ contention (Def. Mem. at 4-8), Plaintiffs do not

 assert that the City cannot have an Open Streets program at all, or cannot generally restrict public

 access to streets, parking spots, or other services, or change their character by turning them into

 parks or spaces exclusively available to pedestrians or cyclists. Plaintiffs seek injunctive relief

 compelling Volunteer Defendants to make reasonable accommodations for Plaintiffs’

 disabilities, not necessarily to enjoin the entire program, as Volunteer Defendants contend. 2

          Plaintiffs allege that the City’s volunteer partners violate federal and state law by using

 barriers to deny access to Open Streets only to the disabled (because everyone else can move the




 1
  The Program is also problematic for a number of additional reasons, including the continuous, daily restriction it
 imposes upon vehicular traffic (id. at ¶ 4), the related harassment of local Access-A-Ride, Uber, Lyft and delivery
 drivers that the disabled rely upon (id. at ¶¶ 5, 34) and who are typically prohibited from leaving their vehicles to
 move barricades in order to serve disabled passengers (id. at ¶¶ 64, 75, 95, 117-19), the violation of the New York
 City Fire Code (id. at ¶109) and the obstruction of ambulances and other emergency services (id. at ¶¶ 15, 16, 34,
 53, 63, 80, 87, 95, 109, 119, 124, 127).
 2
  While the Volunteer Defendants claim that Plaintiffs seek an order “enjoining the Open Streets program” in its
 entirety (Def. Mem. at 1), that is not correct. Instead, Plaintiff’s prayer for relief seeks three things: (a) “An order
 granting Plaintiffs appropriate injunctive and declaratory relief enjoining the Open Streets Program”; (b) “An order
 granting Plaintiffs reasonable attorneys’ fees and expenses and other compensable costs and expenses”; and (c) “An
 order granting Plaintiffs such other, further and different relief as the nature of the case may require or as may
 determined to be just, equitable and proper by this Court.” Compl. at pp. 55 of 55. Accordingly, the Complaint
 contemplates injunctive and declaratory relief requiring, for example, defendants to provide reasonable
 accommodations for Plaintiffs’ disabilities.


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 barriers or bypass them) and by failing to provide any reasonable accommodations for their

 disabilities. Compl. at ¶¶ 145 – 159; id. at “Prayer for Relief.”

        Plaintiffs also assert that the Volunteer Defendants violate federal, state and municipal

 law when they obstruct Open Streets with barricades, and refuse to accommodate Plaintiffs’

 disabilities by moving the barricades out of Plaintiffs’ way, while able-bodied people easily

 access the Open Streets without any impediment.

        Volunteer Defendants trivialize and belittle Plaintiffs by arguing that the Complaint was

 filed because the Program “hinders Plaintiffs’ ability to park their cars.” Def. Mem. at 1. While

 it is true that Plaintiffs’ lives are negatively impacted by aspects of the Open Streets program and

 that the Program completely impedes Plaintiffs’ ability to live their lives independently with

 dignity, this case isn’t about Plaintiffs’ desire for some unique right of access to City Streets, or

 to parking.

        Instead, in this case, Plaintiffs seek to have equal access to City Streets that are available

 to all other New Yorkers, without being uniquely obstructed by barriers because of their

 disabilities. So, for instance, if there is a public parking space on an Open Street that able-bodied

 members of the public can use, Plaintiffs should also be able to use it too, and should not be

 denied access due to intervening barriers Volunteer Defendants placed in the way and refused to

 remove. Volunteer Defendants, if they are to place such barriers, must provide reasonable

 accommodation to Plaintiffs so that they, too, can avail themselves of these public resources

 even though they are disabled.

                                           Legal Argument

        The Complaint asserts claims against Volunteer Defendants under the Americans with

 Disabilities Act of 1990, 42 U.S.C. § 12101 et seq. (the “ADA”), the Rehabilitation Act of 1973,




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 29 U.S.C. § 701 et seq. (the “Rehabilitation Act”), the New York State Human Rights Law

 (“NYSHRL”), and the New York City Human Rights Law (“NYCHRL”). Compl. ¶¶ 145 – 159.

        The Motion seeks to dismiss the Complaint for lack of subject-matter jurisdiction (under

 Fed. R. Civ. P. Rule 12(b)(1)) and for failure to state a claim (under Fed. R. Civ. P. Rule

 12(b)(6)).

        In support of dismissal, the Volunteer Defendants make five arguments, summarized as

 follows:

        (1) the law doesn’t require the provision of parking spaces or prohibits the restriction of

              streets to pedestrians and cyclists (Def. Mem., Point I, at 4-8);

        (2) the Volunteer Defendants are not proper parties under ADA Title II (id., Point II,

              at 9);

        (3) Plaintiffs’ conclusory allegations that Volunteer Defendants receive federal funds are

              insufficient to state a claim under the Rehabilitation Act, which also prohibits

              “individual capacity” lawsuits) (id., Point III, at 10-13);

        (4) Section 1983 claims cannot be used to salvage defective ADA and Rehabilitation Act

              claims (id., Point IV, at 14); and

        (5) The Court should decline supplemental jurisdiction over Plaintiffs’ claims arising

              under state and city law (id., Point V, at 14-18).

        Point I is irrelevant, because Plaintiffs do not contend that they have any unique right to

 particular parking spaces or to vehicular access on Open Streets. Instead, they are entitled to

 equal access to the same Open Streets that the able-bodied have access to, and to which disabled

 people are denied due to the Volunteer Defendants’ placement of the obstructions described in

 the Complaint. Compl. at ¶ 3.




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         Point II fails because either: (a) the Volunteer Defendants are “instrumentalities” of the

 state and each is thus a “Public Entity” subject to ADA Title II; or, in the alternative the

 Volunteer Defendants are private parties subject to 42 U.S.C. § 1983 and Title III of the ADA

 because they have denied Plaintiffs access to “public accommodations.”

         Point III is incorrect as a matter of law. Plaintiffs’ allegations, including that the

 Volunteer Defendants receive federal funds, sufficiently plead violations of the Rehabilitation

 Act and it is well-settled that individual defendants can be sued for injunctive relief under the

 Rehabilitation Act.

         Point IV is incorrect because Plaintiffs may use Section 1983 as a vehicle to assert claims

 under Title III of the ADA.

         And if the Court agrees with Plaintiffs on any of these five points, then it should also

 reject Point V of the Volunteer Defendants’ argument and exercise supplemental jurisdiction

 over Plaintiffs’ claims under state and City law.3

 I.      Legal Standard Applicable to a Motion to Dismiss

         On a motion to dismiss pursuant to Rule 12(b)(6), the district court's task is to assess the

 pleadings to determine whether they contain sufficient factual matter, accepted as true, to state a

 claim for relief that is plausible on its face. Clark v. Hanley, 89 F.4th 78, 93 (2d Cir. 2023). “A

 complaint must plead ‘enough facts to state a claim to relief that is plausible on its face.’ ” Roe

 v. St. John's Univ., 91 F.4th 643, 651 (2d Cir. 2024) (quoting Bell Atl. Corp. v. Twombly, 550

 U.S. 544, 570 (2007). “A claim is plausible ‘when the plaintiff pleads factual content that allows

 the court to draw the reasonable inference that the defendant is liable for the misconduct


 3
   The Volunteer Defendants assert that Plaintiffs’ claims under the NYSHRL and NYCHRL fail for the same
 reasons they supposedly fail under the ADA and the Rehabilitation Act. Def. Mem., at 16. Accordingly, Plaintiffs
 need not separately address the sufficiency of the Complaint’s pleading of their NYSHRL and NYCHRL claims
 beyond responding to Volunteer Defendants’ arguments concerning the ADA and Rehabilitation Act.


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 alleged.’ ” Matson v. Bd. of Educ., 631 F.3d 57, 63 (2d Cir. 2011) (quoting Ashcroft v. Iqbal, 556

 U.S. 662, 678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009)). In deciding a motion to dismiss, the

 “Court accepts as true the pleadings’ factual allegations and draws all reasonable inferences in

 the non-movant’s favor.” Nielson v. Rabin, 746 F.3d 58, 62 (2d Cir. 2014).

        Plaintiffs’ allegations here, taken as true, are sufficient to state claims for liability under

 the Americans with Disabilities Act of 1990, 42 U.S.C. § 12101 et seq. (the “ADA”), the

 Rehabilitation Act of 1973, 29 U.S.C. § 701 et seq. (the “Rehabilitation Act”), the New York

 State Human Rights Law (“NYSHRL”), and the New York City Human Rights Law

 (“NYCHRL”). Accordingly, Volunteer Defendants’ Motion should be denied in its entirety.

 II.    Analysis of Plaintiffs’ Claims

        Plaintiffs’ Complaint asserts three Causes of Action against Volunteer Defendants under

 federal law:

                1. Violation of Title II of the ADA, 42 U.S.C. § 12132 (failure to accommodate);

                2. Violation of the Rehabilitation Act, 29 U.S.C. § 29 U.S.C. § 794 et seq.

                    (failure to accommodate); and

                3. Violation of 42 U.S.C. § 1983 (failure to accommodate).

 Compl. ¶¶ 145 – 155.

        Plaintiffs’ First and Second Causes of Action allege that the Volunteer Defendants have

 violated both Title II of the ADA and the Rehabilitation Act due to their failure to accommodate

 Plaintiffs’ disabilities and to provide them with equal access to Open Streets or reasonable

 accommodations for Plaintiffs’ disabilities. Id. ¶¶ 3, 40, 43, 47-86, 145 – 152.

        Plaintiffs’ third Cause of Action asserts a claim under 42 U.S.C. § 1983 for violating their

 rights under federal law including, without limitation, the ADA and the Rehabilitation Act.

 Compl. ¶¶ 153-155.


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        A       Elements of Plaintiff’s ADA Title II and Rehabilitation Act Claims

        The elements of a claim under Title II of the ADA and under Section 504 of the

 Rehabilitation Act are the same. Disabled in Action v. Bd. of Elections in City of New York, 752

 F.3d 189, 196 (2d Cir. 2014). “To establish a violation under Section 504 or Title II, a plaintiff

 must demonstrate that (1) he is a qualified individual with a disability; (2) the defendant is

 subject to one of the Acts; and (3) he was denied the opportunity to participate in or benefit from

 the defendant’s services, programs, or activities, or was otherwise discriminated against by the

 defendant because of his disability.” Id. (internal quotation omitted); see also Henrietta D. v.

 Bloomberg, 331 F.3d 261, 273 (2d Cir. 2003) (for purposes of Rehabilitation Act, to establish

 that a defendant is subject to the Act, plaintiffs must establish that the defendant is a recipient of

 federal funds). A plaintiff may base a discrimination claim under Title II or under Section 504

 “on one of three theories of liability: disparate treatment, disparate impact, or failure to make a

 reasonable accommodation.” Davis v. Shah, 821 F.3d 261, 272 (2d Cir. 2003). Here, Plaintiffs

 allege that Volunteer Defendants discriminated against Plaintiffs by obstructing their access to

 Open Streets and failing to accommodate Plaintiffs by removing the obstructions. Compl. ¶¶ 3,

 110-120.

        In seeking to dismiss Plaintiffs claims, Volunteer Defendants argue that Plaintiffs have

 failed to properly plead the second and third elements of these claims: that Volunteer Defendants

 are “public entities” under ADA Title II and the Rehabilitation Act; and that Plaintiffs were not

 entitled to any reasonable accommodations because they supposedly had no rights to parking or

 vehicular access on Open Streets. Def. Mem. at 4-14.

        As set forth below, Plaintiffs have sufficiently plead: (1) that each Volunteer Defendant is

 a “Public Entity” under Title II of the ADA (or, in the alternative, as set forth in Section II(B),

 below, that the Volunteer Defendants are private parties subject to Title III of the ADA because


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 they have denied Plaintiffs access to “public accommodations”); (2) that they were deprived of

 protected accessibility rights under the ADA or Rehabilitation Act; and (3) that Defendants

 received federal funds within the meaning of the Rehabilitation Act.

          B        Elements of Plaintiff’s § 1983 Claim

          Plaintiffs are afforded a private right of action under 42 U.S.C. § 1983 to assert violations

 of the ADA, including Title III thereof, which adopts the remedial scheme of Title II of the Civil

 Rights Act of 1964. Williams v. City of New York, 121 F. Supp.3d 354, 370 n. 19 (S.D.N.Y.

 2015) (citing 42 U.S.C. § 12188(a)). 4

                     1         Plaintiffs May Use § 1983 as a vehicle to assert Title III claims under
                               the ADA

          In order to state a claim for violation of Title III, which authorizes private actions only

 for injunctive relief and not monetary damages, a plaintiff must “establish that (1) he or she is

 disabled within the meaning of the ADA; (2) that the defendants own, lease, or operate a place of

 public accommodation; and (3) that the defendants discriminated against the plaintiff within the

 meaning of the ADA.” Roberts v. Royal Atlantic Corp., 542 F.3d 363, 368 (2d Cir. 2008) cert

 denied 556 U.S. 1104 (2009); see also Camarillo v. Carrols Corp., 518 F.3d 153, 156 (2d Cir.

 2008). Only the second and third elements are at issue here.

                     2         Volunteer Defendants are Subject to Title III of the ADA

          Title III of the ADA provides that “[n]o individual shall be discriminated against on the

 basis of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

 advantages, or accommodations of any place of public accommodation by any person who

 owns, leases (or leases to), or operates a place of public accommodation.” 42 U.S.C. § 12182(a)



 4
  Plaintiffs do not contend that they have a private right of action under 42 U.S.C. § 1983 to assert violations of the
 Rehabilitation Act.


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 (emphasis added). “Public accommodation,” in turn, includes any “park … or other place of

 recreation” and Volunteer Defendants do not appear to dispute that Open Streets are places of

 recreation included within that definition.

 III.   Plaintiffs Plausibly Pleaded their ADA, Rehabilitation Act and §1983 Claims.

        A “public entity” must comply with both the ADA and the Rehabilitation Act or that it

 receives federal funds as the Complaint alleges (Compl. ¶¶ 101, 151). See generally, Def. Mem;

 see also 42 U.S.C. § 12132 (ADA applies to public entities); 28 C.F.R. §§ 35.133(a) (a “public

 entity shall maintain in operable working condition those features of facilities and equipment that

 are required to be readily accessible to and usable by persons with disabilities”); 28 C.F.R. §§

 35.149-52 (applying non-discrimination principles in the context of access to government

 programs).

        A       Volunteer Defendants are Public Entities under Title II and the Rehabilitation Act

        Title II of the ADA states: “[N]o qualified individual with a disability shall, by reason of

 such disability, be excluded from participation in or denied the benefits of the services,

 programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

 42 U.S.C. § 12132. The statute defines “public entity” to include “(A) any State or local

 government; (B) any department, agency, special purpose district, or other instrumentality of a

 State or States or local government; and (C) the National Railroad Passenger Corporation, and

 any commuter authority....” 42 U.S.C. § 12131(1). Plaintiffs contend that Volunteer Defendants

 are public entities because they are “instrumentalities” of New York City.

        In Green v. City of New York, 465 F.3d 65, 78-79 (2d Cir. 2006), the court considered the

 meaning of the term “instrumentality,” holding that the term refers to “a creature of a state or

 municipality.” Applying that definition, Green found that a private hospital contracting with the

 City at arms’ length was not such a creature, although it was alleged to have carried out a public


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 function pursuant to a contract with the City, under the City’s rules and under the supervision of

 City employees. Id. at 78 – 79.

        Here, the Complaint alleges an even closer relationship between the Volunteer

 Defendants and the City than that alleged in Green, because the Complaint alleges that the City

 has delegated and transferred its governmental power to administer the Open Streets to the

 Volunteer Defendants. So, for example, the Complaint alleges that defendant North Brooklyn

 Parks Alliance (“NBK Parks”) works with the New York City Department of Parks &

 Recreation, NYC Department of Transportation (“DOT”), and elected officials to maintain,

 activate, enhance, and expand local parks and to administer a 1.1 mile stretch of Berry Street,

 which was designated as an Open Street pursuant to the Program. Compl. ¶ 34. The Complaint

 alleges that NBK Parks signed a management agreement with DOT to manage Berry Street

 under the program, to coordinate with other community organizations to manage their respective

 Open Streets, and to provide guidance for managing those streets to DOT. Id. NBK Parks

 exercised the City’s own inherent power to manage the streets by deciding to encourage Open

 Streets closures of 6 hours or longer, to provide only limited vehicular access to Open Streets, to

 place, move, and remove barriers to regulate the flow of emergency vehicles, essential deliveries,

 and Access-A-Ride vehicles, and to design how the Program would be managed on a day-to-day

 basis. Id. Plaintiff makes similar allegations concerning each of the other Volunteer Defendants.

 Id. at ¶¶ 35 – 44. Plaintiff contends that Volunteer Defendants’ conduct in directly exercising

 municipal power over the Streets distinguishes this case from Green, and that Volunteer

 Defendants are thus “public entities” within the meaning of the ADA.

        But even if this Court were to find that the Volunteers Defendants are private entities

 rather than public entities, the distinction would be insignificant under the facts of this case,




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 because any finding that Volunteer Defendants are private entities just means that Plaintiffs are

 entitled to relief under their § 1983 claim (discussed supra) due to Volunteer Defendants’

 violations of Title III of the ADA.

        B       Volunteer Defendants Cannot Deny Plaintiffs from using public “Facilities”

        Title II of the ADA states: “[N[o qualified individual with a disability shall, by reason of

 such disability, be excluded from participation in or denied the benefits of the services,

 programs, or activities of a public entity, or be subjected to discrimination by any such entity.”

 42 U.S.C. § 12132. The ADA directs the United States Department of Justice to promulgate

 regulations implementing Title II. 42 U.S.C. § 12134(a); see also 28 C.F.R. Part 35 (Title II

 implementing regulations).

        Subpart D of the regulations (titled “Program Accessibility”) – applies non-

 discrimination principles in the context of access to government programs. See 28 C.F.R. §§

 35.149-52. Subpart D also begins with a broad proscription: “[N]o qualified individual with a

 disability shall, because a public entity’s facilities are inaccessible to or unusable by individuals

 with disabilities, be excluded from participation in, or be denied the benefits of the services,

 programs, or activities of a public entity, or be subjected to discrimination by any public entity.”

 28 C.F.R. § 35.149. The next two sections set out the program accessibility standards applicable

 to “existing facilities” (28 C.F.R. § 35.150) and “new construction and alterations” (28 C.F.R. §

 35.151).

        Subpart B of the regulations (titled “General Requirements”) includes provisions

 explaining a public entity’s duty to ensure that its accessible facilities remain accessible through

 ongoing maintenance. 28 C.F.R. Part 35, Subpart B. While Subpart B “does not prohibit

 isolated or temporary interruptions in service or access due to maintenance or repairs”, it does

 provide that “[a] public entity shall maintain in operable working condition those features of


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 facilities and equipment that are required to be readily accessible to and usable by persons with

 disabilities.” 28 C.F.R. § 35.133(a).

         The text and history of the ADA and its regulations emphasizes the necessity of

 eliminating disability discrimination in the provision of public services. See, e.g., 42 U.S.C. §

 12101(a)(3) “[D]iscrimination against individuals with disabilities persist in such critical areas as

 … transportation … and access to public services.”)(emphasis added); 42 U.S.C. § 12101(a)(5)

 (“[I]ndividuals with disabilities continually encounter various forms of discrimination, including

 … the discriminatory effects of architectural, transportation, and communication barriers.”)

 (emphasis added); 28 C.F.R. § 35.151(i)(ii) (“Newly constructed or altered street level pedestrian

 walkways must contain curb ramps ….”). The House Report accompanying the ADA explains:

 “[t]he employment, transportation, and public accommodations section of this Act would be

 meaningless if people [with disabilities] were not afforded the opportunity to travel on and

 between the streets.” House Report No. 101-485, 1990 U.S.C.C.A.N. at 367(emphasis added).

         Newly constructed or altered sidewalks are subject to the even higher standards of 28

 C.F.R. § 35.151(a). This regulation requires that each facility must be “designed and constructed

 in such manner that the facility or part of the facility is readily accessible to and usable by

 individuals with disabilities.” Id. The regulations implementing the ADA require that each

 facility altered by a public entity in a manner that affects the usability of the facility must be

 accessible “to the maximum extent feasible.” Id. at § 35.151(b)(1). New construction and

 alterations must meet specific design standards depending on the date of construction or

 alteration. Id. at § 13.151(c); see also 2010 ADA Standards for Accessible Design (Sept 15,

 2010).5 Newly constructed or altered streets and roads must contain curb ramps or other sloped


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  Available at https://www.ada.gov/regs2010/2010ADAStandards/2010ADAStandards_prt.pdf (last visited March
 22, 2024)


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 areas at any intersection having curbs or other barriers to entry from a street level pedestrian

 walkway. 28 C.F.R. § 35.151(i).

         C       Volunteer Defendants are Required to Maintain the Accessibility of “Services,
                 Programs, or Activities”

         Volunteer Defendants’ maintenance of pedestrian paths (sidewalks and curb-cuts) also

 constitutes a “service, program or activity” under Title II of the ADA. The Supreme Court has

 already recognized that the ADA’s statutory terms are unambiguously broad. See Pennsylvania

 Dep’t of Corr. v. Yeskey, 524 U.S. 206, 212 (1998). Section 504 of the Rehabilitation Act

 specifically defines the term “program or activity” as “all of the operations of” a covered public

 entity, 29 U.S.C. § 794(b) (emphasis added), and Congress required Title II to be interpreted at

 least as broadly as Section 504, see 42 U.S.C. § 12201(a).

         Courts have thus routinely concluded that sidewalks are “services, programs, or

 activities” under the ADA. See Frame v. City of Arlington, 657 F.3d 215, 226 (5th Cir. 2011) (en

 banc) (“Building and altering city sidewalks unambiguously are ‘services’ of a public entity

 under any reasonable understanding of that term.”); Barden v. City of Sacramento, 292 F.3d

 1073, 1076 (9th Cir. 2002) (“[M]aintaining public sidewalks is a normal function of a city” such

 that “[m]aintaining their accessibility for individuals with disabilities therefore falls within the

 scope of Title II.”).

         D       Streets, Sidewalks and Curb-cuts are both “Facilities” and “Services, Programs, or
                 Activities” that the City Must Make and Keep Accessible to the Disabled

         In American Council of the Blind of New York, Inc. v. City of New York, an organization

 supporting people with vision disabilities brought a class action against the City due to the City’s

 failure to provide non-visual crossing information at a vast majority of its intersections that

 utilize traffic signals, and the City’s failure to accommodate pedestrians with vision disabilities.

 See American Council of the Blind of New York, Inc. v. City of New York, 495 F. Supp.3d 211,


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 230-231 (S.D.N.Y. 2020). The Court granted summary judgment, in part, in favor of plaintiffs

 on their claims under both the ADA and the Rehabilitation Act. In doing so, the Court remarked

 that the Second Circuit has counseled against “hairsplitting arguments” concerning which

 “aspects of a city’s operations fall under the ADA’s broad protections. Instead, it has instructed

 that any normal function of a governmental entity is properly treated to be a service, program or

 activity under the ADA and Rehabilitation Act.” Id. at 230 (cleaned up), citing Barden v. City of

 Sacramento, 292 F.3d 1073, 1076 (9th Cir. 2002) (holding that Title II covers “anything a public

 entity does,” and collecting circuit cases holding similarly).

        Council for the Blind ultimately concluded that the City’s maintenance of signalized

 intersections and the pedestrian grid plainly constitute a “service, program or activity” of a

 public entity because those are normal functions of the City, and that the City and its Department

 of Transportation “have broad authority for the City's streets and oversee, among other things,

 the installation, repair, and maintenance of New York City traffic signals, sidewalks, crosswalks,

 bicycle lanes, and roadways.” Council for the Blind, supra, at 231. So too here. The City and its

 Department of Transportation still have broad authority over the City’s streets and still oversee

 the installation, repair and maintenance of the City’s sidewalks, crosswalks, bicycle lanes and

 roads. The Volunteer Defendants do not contend otherwise. Accordingly, the Volunteer

 Defendants are obligated to accommodate Plaintiffs by maintaining the accessibility of the Open

 Streets that Volunteer Defendants manage.

 IV.    Defendants Received Federal Funds within the meaning of the Rehabilitation Act

        As discussed in supra, Plaintiffs’ Rehabilitation Act claim relies upon Volunteer

 Defendants’ receipt of public funds. Plaintiffs’ Complaint alleges that the Volunteer Defendants

 did receive federal funds. Compl. ¶¶ 101, 151. Volunteer Defendants contend that Plaintiffs’




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 allegations are merely conclusory, and fall short of the standard for plausibly pleading

 Rehabilitation Act claims. Def. Mem. at 10-14. Defendants are wrong.

           Volunteer defendants argue that the law distinguishes between those who actually receive

 federal funds and those who receive merely economic benefits from federal financial assistance

 or who have previously received subsidies. Id. at 11

           But the Complaint alleges that Volunteer Defendants actually received federal funds, not

 that Volunteer Defendants received some other economic benefit or prior subsidy. Paragraph

 101 of the Complaint alleges, on information and belief, that the City of New York received

 federal funds that it used for the implementation of the Program as part of the City’s “Vision

 Zero” initiative. Paragraphs 34 – 42 allege, in turn, that each of the Volunteer Defendants

 received those federal funds through grants from New York City’s Department of

 Transportation. Plaintiffs have thus plausibly alleged that each of the Volunteer Defendants

 received federal funds, as opposed to some other economic benefit or prior subsidy.

           Volunteer Defendants’ citation to NCAA v. Smith, 525 U.S. 459 (1999) in inapposite (see

 Def. Mem. at 12), because NCAA teaches that the federal funding is “received” without

 distinguishing “between direct institutional assistance” and aid “earmarked” for the recipient that

 is transmitted through an intermediary. Id. at 466-67 (receipt “encompass[es] all forms of

 federal aid … direct or indirect.”) (quoting Grove City College v. Bell, 465 U.S. 555, 563-570

 (1984).

           Here, there is ample evidence that Volunteer Defendants actually received federal funds

 as Plaintiffs have alleged. The NYC Comptroller’s checkbook is transparent and accessible

 online at https://www.checkbooknyc.com/. The Comptroller’s checkbook database reveals




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 “Spending” transactions listed for the expense category of “Contractual Services General” for

 many of the Volunteer Defendants, including, for example:

     1. Open Space Alliance of North Brooklyn (North Brooklyn Parks Alliance)
        For "Contractual Services General"
        December 12, 2022 6

     2. Together We Can Community Resource (34th Ave Open Streets Community Coalition)
        For "Contractual Services General"
        February 10, 2023 7

     3. The Horticulture Society
        For "Contractual Services General"
        July 1, 2023 8

         Additionally, the New York City Recovery Plan for State and Local Fiscal Recovery

 Funds indicates that more than $43 million of federal funding from the American Rescue Plan

 Act were spent by the City, including on the Open Streets Program. 9 And the Court may take

 judicial notice of these materials. See, e.g., Garber v. Legg Mason, Inc., 347 F. App'x 665, 669

 (2d Cir. 2009) (“although these documents are not mentioned on the face of the complaint, we

 have previously held that on a Rule 12(b)(6) motion to dismiss a court may consider matters of

 which judicial notice may be taken”) (internal citation omitted).

         Volunteer Defendants’ final assertion, that “individual capacity” suits are prohibited

 under the federal law governing Plaintiffs’ claims (Def. Mem. at 10-12), is inapplicable here.

 Plaintiffs are not suing any government officials in their individual capacity. Plaintiffs allege


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  https://www.checkbooknyc.com/smart_search/citywide?search_term=*!*vendor_name=open%2Bspace%2Ballianc
 e%2Bfor%2Bnorth%2Bbrooklyn
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  https://www.checkbooknyc.com/smart_search/citywide?search_term=*!*vendor_name=together%2Bwe%2Bcan%
 2Bcommunity%2Bresource%2Bcenter%2Binc
 8
  https://www.checkbooknyc.com/smart_search/citywide?search_term=%2A%21%2Avendor_name%3Dthe%2Bhort
 icultural%2Bsociety%2Bof%2Bnew%2Byork&page=6
 9
  Available at: https://home.treasury.gov/system/files/136/New-York-City-2021-Recovery-Plan-SLT-0686.pdf (at
 pages 18-19)


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 that Volunteer Defendants associations have violated section 504 of the Rehabilitation Act

 because they have discriminated against Plaintiffs in a “Program or Activity” which includes “all

 of the operations of … an entire corporation, partnership, private organization, or an entire sole

 proprietorship… which is principally in the business of providing … social services, or parks and

 recreation….” 29 U.S.C. § 504(b) - (b)(3)(A)(ii).10 Plaintiffs may name individual Volunteer

 Defendants in connection with their attempt to secure prospective injunctive relief:

         In other words, we concluded that Title II and Rehabilitation Act suits for
         prospective injunctive relief may, under the doctrine established by Ex parte
         Young, 209 U.S. 123, 28 S.Ct. 441, 52 L.Ed. 714 (1908), proceed against
         individual officers in their official capacity, see Henrietta D., 331 F.3d at 289
         (“[T]here is no basis for holding that the ADA or Rehabilitation Act intended to
         create the kind of comprehensive enforcement scheme that would preclude
         prospective injunctive relief against a state official in her official capacity.”).
         Insofar as the amended complaint seeks prospective injunctive relief, then, it may
         be asserted against the individual defendants here in their official capacities.4

 Harris v. Mills, 572 F.3d 66, 72 (2d Cir. 2009).

         For these reasons, Plaintiffs have more than plausibly alleged that Volunteer Defendants

 have received federal funds sufficient to satisfy the requirements of the Rehabilitation Act.




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   CPLR § 1025 and New York General Association Law §13 also provide that any unincorporated association (like
 Volunteer Defendants here) may be sued by individually naming as a defendant the association’s President or
 Treasurer.


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                                          Conclusion

        Plaintiffs have adequately pled their ADA, Rehabilitation Act and § 1983 claims and the

  Volunteer Defendants’ Motion should thus be denied.


        Dated: Garden City, New York
               March 22, 2024

                                                 VALLI KANE & VAGNINI LLP


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                                                 Tel: (516) 203-7180
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                                                 Attorneys for Plaintiffs




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                                  CERTIFICATE OF SERVICE

        I hereby certify that on March 22, 2024 a true and correct copy of Plaintiffs’

 Memorandum of Law in opposition to Volunteer Defendants’ Motion to Dismiss was served via

 electronic email on all counsel of record.

        Dated: March 22, 2024
        Garden City, New York


                                                             /s/ Matthew L. Berman
                                                             Matthew L. Berman, Esq.
